Case 1:20-cv-02405-EGS Document 90-5 Filed 11/05/20 Page 1 of 16

 

 

Political and Election Mail Audit Checklist

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abLBCTON MATL ,
sai sf eae a le P&DC/Auditor’s NAME:Edith Sumier Fayetteville Plant/Sumler
Date / Tour: 11/04/2020 TOUR 2
Enter responses in spaces provided. Any Y/N question answered as "No" requires an entry in section 30 below.
General Information / Communication: (TO BE COMPLETED SEVERAL TIMES DURING THE PROCESSING WINDOW)
1 MGMT - Has the site certified that ALL Service Talks and POMOs were shared with ALL employees? Yes| x | No N/A
2 OPS - Was the daily all clear check completed and certified after each tour and end of day on the website? Yes} x | No NIA
3 OPS - Is there a designated Political and Election Mail Staging area? Yes| x | No N/A
4 OPS - Is the staging space clearly identified with proper lines and signs? Yes} x | No NIA
5 OPS - Does the plant have Political and Election mail properly staged in the designated staging area as applicable? Yes| x | No N/A
6 OPS - Was the Political and Election mail correctly reported on the appropriate MCRS Option line? Yes} x | No N/A
7 OPS - Is ALL Election mail being cancelled on the AFCSs, AFSMs or hand cancellation? Yes| x | No NIA
8 OPS - Has operations correctly documented their Political and Election Mail arrivals into the P/E log? Yes| x | No N/A
9 OPS - Are all P/E mail alerts being shared and documented in the log upon arrival? Yes| x | No NIA
10 OPS - Are all containers with P/E mail properly identified indicating that there is P/E mail in that container? Yes| x | No N/A
11 OPS - Have the POMOs and Service talks been posted on the workroom floor? Yes| x | No N/A
12 OPS - Are the employees knowledgeable about the POMOs and Service Talks for Political and Election Mail? Yes| x | No N/A
13 OPS - Are the BRM Political and Election Mail procedures being followed? Yes| x | No N/A
14 OPS - Are the POSTAGE DUE Election Mail Procedures being followed - DELIVER THE MAIL/DO NOT RTS? Yes| x | No N/A
15 OPS -Dothe employees know what to do with a container with a Tag 57 or 191? Yes| x | No NIA
16 OPS - Does the site know how to handle the Military/Overseas/Absentee ballots? Yes| x | No N/A
17 OPS - Have manual operations including Shortpaid, Damaged mail and PARS been swept for all P/E mail? Yes/| x | No N/A
18 OPS - Have trailer yard checks being completed in each tour including trailers at the dock? Yes} x | No N/A
19 OPS/BMEU - Do the OPS and BMEU teams meet to compare and validate the Political and Election mail logs? Yes}, | No| ¥ |N/A
20 BMEU - Is the BMEU Political and Election mail logs up to date and current? Yes No | _ NIA
21 IPS - Is IV reviewed daily to assess Political and Election Mail Performance? Yes No N/A
22 IPS - Did IPS audit the mail counts and validate the counts and oldest dates on the floor? Yes 4 No N/A
23 IPS - Are mail conditions and All Clear certification being reviewed and discussed at the daily tour turnover meetings? Yes X No N/A
24 IPS - Is IPS reviewing Election Mail ballot envelopes that reject from the AFCSs and communicating findings to the district H Yes No N/A
25 COORD - Does the site have a local Political and Election mail plan? Yes No N/A
26 COORD - Does the local P/E mail plan include a contingency plan to get LAMM and delayed P/E mail delivered to the custq Yes No N/A
27 COORD - Does the Local Political and Election team ail meet regularly? Yes No N/A
28 COORD - Has the Local Political and Election team met with the local Election officials with final Outreach effort? Yes No NIA
29 COORD - Area all issues being entered with detailed documentation in the HQ Issue Log? Yes No NIA
30 COORD - Are the issues/problems from Electionmail.org being resolved within 24 hrs (where applicable)? Yes No N/A

 

 

For any "No" response in the Y/N items. provide the changes necessary to abate the issue below and when that acti

oa 3-5 ALL POLITICIAL MAIL IS TREATED AS FCM, ALL POLITICIAL MAIL IS WORKED FIRST ONCE IDENTIFIED. ***

ion will be completed:

 

 

 
 

pone) 20-CV-02405-EGS Document 90-5 Filed 11/05/20 Page 2 of 16

PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order inzosmres

POSTAL SERVICE @

 

Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not lim ited to these areas within facility. Checklist must be retained by the District

Political and Election Mail Operations Coordinator i
Political and/or Election Mail. District:

R. Ivette Velez

Title: MDO

Phone #:

formation for investigating possible missing or delayed

Mid-Carolina Name:

910 486-2347

 

Check box
when checked

Section/Operation:

Defines the work area to be searched.

Comments:

Specifics: include copies of PMOD label and for
container placard. Names of individuals contacted

 

 

 

 

 

 

 

 

 

 

 

 

 

Rewrap Operations

 

CFS (if applicable)

 

 

 

i Incoming dock All Areas checked and found in compliance
Ly BMEU & BMEU Plant Staging
Opening units

Ld AO / Station dispatch area
[x] Outbound dock

x] Outgoing Dispatch Area

Ix] Trailers in yard (Yard Check)
[x] MITE Plant Staging Area

MTE trailers

[x] Site MTESC

PARS Staging and Operations
kx]

[4

Ld)

BRM/Postage Due

 

 

 

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Case 1:20-cv-02405-EGS Document 90-5 Filed 11/05/20 Page 3 of 16

 

Political and Election Mail Audit Checklist

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3 JaELECTION MAIL :
sap mag R. es a » le P&DC/Auditor's NAME:Edith Sumler Fayetteville Plant/Sumier
Date / Tour: 11/03/2020 TOUR 2
Enter responses in spaces provided. Any Y/N question answered as "No" requires an entry in section 30 below.
General Information / Communication: (TO BE COMPLETED SEVERAL TIMES DURING THE PROCESSING WINDOW)
1 MGMT - Has the site certified that ALL Service Talks and POMOs were shared with ALL employees? Yes| x | No NIA
2 OPS - Was the daily all clear check completed and certified after each tour and end of day on the website? Yes| x | No N/A
3 OPS - Is there a designated Political and Election Mail Staging area? Yes| x | No N/A
4 OPS - Is the staging space clearly identified with proper lines and signs? Yes| x | No NIA
5 OPS - Does the plant have Political and Election mail properly staged in the designated staging area as applicable? Yes| x | No N/A
6 OPS - Was the Political and Election mail correctly reported on the appropriate MCRS Option line? Yes| x | No NIA
7 OPS - Is ALL Election mail being cancelled on the AFCSs, AFSMs or hand cancellation? Yes} x | No . | WA
8 OPS - Has operations correctly documented their Political and Election Mail arrivals into the P/E log? Yes| x | No N/A
9 OPS - Are all P/E mail alerts being shared and documented in the log upon arrival? Yes| x | No NIA
10 OPS - Are all containers with P/E mail properly identified indicating that there is P/E mail in that container? Yes} x | No N/A
11 OPS - Have the POMOs and Service talks been pasted on the workroom floor? Yes| x | No N/A
12 OPS - Are the employees knowledgeable about the POMOs and Service Talks for Political and Election Mail? Yes| x | No NIA
13 OPS - Are the BRM Political and Election Mail procedures being followed? Yes| x | No N/A
14 OPS - Are the POSTAGE DUE Election Mail procedures being followed - DELIVER THE MAIL/DO NOT RTS? Yes| x | No N/A
15 OPS - Do the employees know what to do with a container with a Tag 57 or 191? Yes{| x | No NIA
16 OPS - Does the site know how to handle the Military/Overseas/Absentee ballots? Yes| x | No N/A
17 OPS - Have manual operations including Shortpaid, Damaged mail and PARS been swept for all P/E mail? Yes| x | No NIA
18 OPS - Have trailer yard checks being completed in each tour including trailers at the dock? Yes| x | No N/A
19 OPS/BMEU - Do the OPS and BMEU teams meet to compare and validate the Political and Election mail logs? Yes No VY N/A
20 BMEU - Is the BMEU Political and Election mail logs up to date and current? Yes a No NIA
21 IPS - Is IV reviewed daily to assess Political and Election Mail Performance? Yes ba] No N/A
22 IPS - Did IPS audit the mail counts and validate the counts and oldest dates on the floor? Yes| F | No NIA
23 IPS - Are mail conditions and All Clear certification being reviewed and discussed at the daily tour turnover meetings? Yes a No NIA
24 IPS - Is IPS reviewing Election Mail ballot envelopes that reject from the AFCSs and communicating findings to the district Yes] " | No NIA] X&
25 COORD - Does the site have a local Political and Election mail plan? Yes No N/A
26 COORD - Does the Jocal P/E mail plan include a contingency plan to get LAMM and delayed P/E mail delivered to the custd Yes No N/A
27 COORD - Does the Local Political and Election team ail meet regularly? Yes No NIA
28 COORD - Has the Local Political and Election team met with the local Election officials with final Outreach effort? Yes No N/A
29 COORD - Area all issues being entered with detailed documentation in the HQ Issue Log? Yes No N/A
30_ COORD - Are the issues/problems from Electionmail.org being resolved within 24 hrs (where applicable)? Yes No N/A

 

 

 

 

 

 

For any "No" response in the Y/N items, provide the changes necessary to abate the issue below and when that action will be completed:
pe 3-5 ALL POLITICIAL MAIL IS TREATED AS FCM, ALL POLITICIAL MAIL IS WORKED FIRST ONCE IDENTIFIED. ***

 

 

 
Case 1:20-cv-02405-EGS Document 90-5 Filed 11/05/20 Page 4 of 16

 

 

PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE | =
Processing Operations Management Order yureo snes

 

Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District &

pentes! and Election Mail eeerers Coordinat a). vee tion ye investigating possible missing or delayed
tal and) ahh O Name:

 

 

Prone s.[_ HON -P4GT

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Comm 3
Check box Section/Operation: mes

Specifics: include copies of PMOD label and /or
container placard. Names of individuals con tacted

when checked Defines the work area to be searched.

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KS Li &
RAFI AS AS oy

Incoming dock

 

BMEU & BMEU Plant Staging

 

Opening units

 

AO/ Station dispatch area

 

 

 

 

 

 

Outbound dack

Outgoing Dispatch Area { (/ ip

Trailers in yard [Yard Check) ” ett) x ee
MTE Plant Staging Area

MITE trailers Ib RAceors Found.
Site MTESC

 

PARS Staging and Operations

 

Rewrap Operations

h

 

CFS (if applicable)

RI

 

N

 

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BRM/Postage Due

 

 

 

 

 

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Case 1:20-cv-02405-EGS Document 90-5 Filed 11/05/20 Page 5 of 16

 

Political and Election Mail Audit Checklist

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aLECHON TAN
sue sae. ae Fassia i ty le P&DC/Auditor's NAME:Edith Sumler Fayetteville Plant/Sumler
Date / Tour: 11/02/2020 TOUR 2
Enter responses in spaces Provided. Any Y/N question answered as "No" requires an entry in section 30 below.
General Information / Communication: (TO BE COMPLETED SEVERAL TIMES DURING THE PROCESSING WINDOW)
1 MGMT - Has the site certified that ALL Service Talks and POMOs were shared with ALL employees? Yes| x | No N/A
2 OPS - Was the daily all clear check completed and certified after each tour and end of day on the website? Yes| x | No N/A
3 OPS - Is there a designated Political and Election Mail Staging area? Yes| x | No N/A
4 OPS - Is the staging space clearly identified with proper lines and signs? Yes| x | No NIA
5 OPS - Does the plant have Political and Election mail properly Staged in the designated staging area as applicable? Yes} x | No N/A
6 OPS - Was the Political and Election mail correctly reported on the appropriate MCRS Option line? Yes| x | No NIA
7 OPS - Is ALL Election mail being cancelled on the AFCSs, AFSMs or hand cancellation? Yes| x | No N/A
8 OPS - Has operations correctly documented their Political and Election Mail arrivals into the P/E log? Yes| x | No NIA
9 OPS - Are all P/E mail alerts being shared and documented in the log upon arrival? Yes| x | No NIA
10 OPS - Are all containers with P/E mail Properly identified indicating that there is P/E mail in that container? Yes| x | No N/A
11 OPS - Have the POMOs and Service talks been posted on the workroom floor? Yes| x | No N/A
12 OPS - Are the employees knowledgeable about the POMOs and Service Talks for Political and Election Mail? Yes| x | No N/A
13 OPS - Are the BRM Political and Election Mail procedures being followed? Yes| x | No N/A
14 OPS - Are the POSTAGE DUE Election Mail procedures being followed - DELIVER THE MAIL/DO NOT RTS? Yes| x | No N/A
18 OPS - Do the employees know what to do with a container with a Tag 57 or 191? Yes| x | No N/A
16 OPS - Does the site know how to handle the Military/Overseas/Absentee ballots? Yes| x | No N/A
17 OPS - Have manual operations including Shortpaid, Damaged mail and PARS been swept for all P/E mail? Yes| x | No N/A
18 OPS - Have trailer yard checks being completed in each tour including trailers at the dock? Yes| x | No N/A
18 OPS/BMEU - Do the OPS and BMEU teams meet to compare and validate the Political and Election mail logs? Yes No | |N/A
20 BMEU - Is the BMEU Political and Election mail logs up to date and current? Yes) [No |" "TNA
21 IPS - Is IV reviewed daily to assess Political and Election Mail Performance? Yes Xj No N/A
22 IPS - Did IPS audit the mail counts and validate the counts and oldest dates on the floor? Yes| K | No N/A
23 IPS - Are mail conditions and All Clear certification being reviewed and discussed at the daily tour turnover meetings? Yes x No N/A].
24 IPS - Is IPS reviewing Election Mail ballot envelopes that reject from the AFCSs and communicating findings to the district H Yes No N/A aA
25 COORD - Does the site have a local Political and Election mail plan? Yes No N/A
26 COORD - Does the local P/E mail plan include a contingency plan to get LAMM and delayed P/E mail delivered to the custd Yes No N/A
27 COORD - Does the Local Political and Election team ail meet regularly? Yes No NIA
28 COORD - Has the Local Political and Election team met with the local Election officials with final Outreach effort? Yes No N/A
29 COORD - Area all issues being entered with detailed documentation in the HQ Issue Log? Yes No NIA
30_COORD - Are the issues/problems from Electionmail.org being resolved within 24 hrs (where applicable)? Yes No N/A

 

 

 

 

 

 

For any "No" response in the Y/N items, provide the chan: necessary to abate the issue below and when that action will be completed:
ust 3-5 ALL POLITICIAL MAIL IS TREATED AS FCM, ALL POLITICIAL MAIL IS WORKED FIRST ONCE IDENTIFIED. ****

 

 

 
Case 1:20-cv-02405-EGS Document 90-5 Filed 11/05/20 Page 6 of 16

 

PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order _—<_

POSTAL SERVICE ®
Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District *

Political and Election Mail Operations Tarts inge Vin 7 investigating possible missing or delayed
iti¢al afd, wn Mail. District: f A aN f G Name:

 

 

   

 

  

ries SU DF bons rrone( 9/0) 66-2487

Comments:

 

Check box _| Section/Operation:

Specifics: include copies of PMOD label and for
container placard. Names of individuals contacted

when checked Defines the work area to be searched.

 

 

 

 

 

 

 

 

 

 

 

I Incoming dock
a BMEU & BMEU Plant Staging
s
[oy Opening units
=
[4H AO / Station dispatch area
L
[4 Outbound dock
C] Outgoing Dispatch Area Al ie ‘4
[a Trailers in yard (Yard Check) vy
WY MITE Plant Staging Area
— r
[7 MTE trailers
ea
[A Site MTESC
ZZ
iA PARS Staging and Operations

 

 

 

 

[A Rewrap Operations

fa __ | OFS (if applicable)
=

(ay BRM/Postage Due

 

 

 

 

 

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Case 1:20-cv-02405-EGS Document 90-5 Filed 11/05/20 Page 7 of-16

 

   

 

 

&DC/Auditor’s NAME:Edith Sumler|

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Fayetteville Plant/Sumier.
Date / Tour: 14/01/2020: TOUR 2
Enter responses in spaces Provided. Any Y/N question answered as "No" requires an entry in section 30 below.
General Information / Communication: (TO BE COMPLETED SEVERAL TIMES DURING THE PROCESSING WINDOW)
1 MGMT - Has the site certified that ALL Service Talks and POMOs were shared with ALL employees? Yes| x | No N/A
2 OPS - Was the daily all clear check completed and certified after each tour and end of day on the website? Yes| x | No N/A
3 OPS - Is there a designated Political and Election Mail Staging area? Yes{ x | No N/A
4 OPS- Is the staging space clearly identified with proper lines and signs? Yes| x | No NIA
5 OPS - Does the plant have Political and Election mail properly Staged in the designated Staging area as applicable? Yes| x | No NIA
6 OPS - Was the Political and Election mail correctly reported on the appropriate MCRS Option line? Yes| x | No NIA
7 OPS - Is ALL Election mail being cancelled on the AFCSs, AFSMs or hand cancellation? Yes| X | No NIA
8 OPS - Has operations correctly documented their Political and Election Mail arrivals into the P/E log? Yes| x | No NiA
9 OPS - Are all P/E mail alerts being shared and documented in the log upon arrival? Yes| x | No NIA
10 OPS - Are all containers with P/E mail properly identified indicating that there is P/E mail in that container? Yes| x | No NIA
11 OPS - Have the POMOs and Service talks been posted on the workroom floor? Yes! x | No NIA
12 OPS - Are the employees knowledgeable about the POMOs and Service Talks for Political and Election Mail? Yes| x | No NIA
13 OPS - Are the BRM Political and Election Mail procedures being followed? Yes| x | No N/A
14 ‘OPS- Are the POSTAGE DUE Election Mail procedures being followed - DELIVER THE MAIL/DO NOT RTS? Yes} x | No NIA
15 OPS -Do the employees know what to do with a container with a Tag 57 or 1917 ; Yes| x | No NIA
16 OPS - Does the site know how to handle the Military/Overseas/Absentee ballots? Yes| x | No NIA
17 OPS - Have manual Operations including Shortpaid, Damaged mail and PARS been Swept for all P/E mail? Yes| x | No NIA
18 OPS - Have trailer yard checks being completed in each tour including trailers at the dock? Yes| x | No N/A
19 OPS/BMEU - Do the OPS and BMEU teams meet to compare and validate the Political and Election mail logs? Yes No |X | NIA
20 BMEU - Is the BMEU Political and Election mail logs up to date and current? Yes| "| No N/A
21 IPS - Is IV reviewed daily to assess Political and Election Mail Performance? Yes |>- | No N/A
22. IPS - Did IPS audit the mail counts and validate the counts and oldest dates on the floor? Yes |, | No N/A
23 IPS - Are mail conditions and All Clear certification being reviewed and discussed at the daily tour turnover meetings? Yes |X. No NIA
24 IPS-Is IPS reviewing Election Mail ballot envelopes that reject from the AFCSs and communicating findings to the district A Yes No NIA | 3"
25 COORD - Does the site have a local Political and Election mail plan? Yes No NIA
26 COORD - Does the local P/E mail Plan include a contingency Plan to get LAMM and delayed P/E mail delivered to the custd Yes No NIA
27 COORD - Does the Local Political and Election team ail meet regularly? Yes No NIA
28 COORD - Has the Local Political and Election team met with the local Elaction officials with final Outreach effort? Yes No NIA
29 COORD - Area all issues being entered with detailed documentation in the HQ Issue Lag? Yes No N/A
30_COORD - Are the issues/problems from Electionmail.org being resolved within 24 hrs (where applicable)? Yes No N/A
For any "No" response in the Y/N items, provide the changes hecessary to abate the issue below and when that action will be completed:
“** 3-5 ALL POLITICIAL MAIL IS TREATED AS FCM, ALL POLITICIAL MAIL IS WORKED FIRST ONCE IDENTIFIED. ***

 

 
Case 1:20-cv-02405-EGS Document 90-5 Filed 11/05/20 Page 8 of 16

 

 

Processing Ope

PROCESSING OPERATIONS

HEADQUARTERS
UNITED STATES POSTAL SERVICE

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POSTAL SERVICE@

 

 

Purpose: To provide an operational checklist to b
minimal areas to check and is not limited to
Political and Election Mail Operations Coordinato.

Politigal gndi/

 

   
 
 

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Title; SLUSH,

FAY Pde Sil, HQ 7.

Operational Clean Sweep Search Checklist- Political and Election Mail

 

these

@ used in performing a daily mail search, This list includes the
areas within facility. Checklist must be retained by the District

Bente investigating possible missing or delayed
LD Gnbe Name:

prem #: ( Ye d) Hf -A347

 

Check box
when checked

Section/Operation:

Defines the work area to be searched.

Comments:

Specifics: include copies of PMOD label and for
container placard. Names of individuals contacted

 

incoming dock

 

BMEU & BMEU Plant Staging

 

Opening units

 

AO / Station dispatch area

 

Outbound dock

 

Outgoing Dispatch Area

 

Trailers in yard (Yard Check)

Ah

 

 

MTE Plant Staging Area

 

MTE trailers

 

Site MTESC

 

 

PARS Staging and Operations

 

Rewrap Operations

 

CFS {if applicable)

 

 

VISIA NGG das gy

 

 

BRM /Postage Due

 

 

 

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Case 1:20-cv-02405-EGS Document 90-5 Filed 11/05/20 Page 9 of 16

 

PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order

UNITED STATES
POSTAL SERVICE ®

 

 

 

 

Political and Election Mail Audit Checklist

 

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eORFICIAL ae
= = SELECTION MAIL
Aly fey alps: Postal Sore @

Facility NAME/Auditor's NAME:

Plant T2 - Jones/Cain

 

 

 

 

 

 

 

 

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ee # "
10/31/20
Enter responses in spaces provided. Any Y/N question answered as "No" requires an entry in section 41 below.
General Information / Communication: (TO BE COMPLETED SEVERAL TIMES DURING THE PROCESSING WINDOW

1 MGMT - Has the site certified that ALL Service Talks and POMOs were shared with ALL employees? Yes| X | No NIA

2 OPS - Was the daily all clear check completed and certified after each tour and end of day on the website? Yes| y | No NIA

3 OPS - Is there a designated Political and Election Mail Staging area? Yes| x | No N/A

4 OPS - |s the staging space clearly identified with proper lines and signs? Yes x No NIA

5 OPS - Does the plant have Political and Election mail properly staged in the designated staging area as applicable? | Yes v No NIA

6 OPS - Was the Political and Election mail correctly reported on the appropriate MCRS Option line? Yes x No NIA

7 OPS - Is ALL Election mail being cancelled on the AFCSs, AFSMs or hand cancellation? Yes xX No NIA

8 OPS - Has operations correctly documented their Political and Election Mail arrivals into the P/E log? Yes x No N/A

9 OPS - Are all P/E mail alerts being shared and documented in the log upon arrival? Yes x No NIA
10 OPS - Are all containers with P/E mail properly identified indicating that there is P/E mail in that container? Yes x No NIA
11 OPS - Have the POMOs and Service talks been posted on the workroom floor? Yes No NIA
12 OPS - Are the employees knowledgeable about the POMOs and Service Talks for Political and Election Mail? Yes S No N/A
13 OPS - Are the BRM Political and Election Mail procedures being followed? Yes| y | No N/A
14 OPS - Are the POSTAGE DUE Election Mail procedures being followed - DELVER THE MAIL/DO NOT RTS? Yes| y | No NIA
15 OPS - Do the employees know what to do with a container with a Tag 57 or 191? Yes x No NIA
16 OPS - Does the site know how to handle the Military/Overseas/Absentee ballots? Yes x No N/A
17 OPS - Have manual operations including Shortpaid, Damaged mail and PARS been swept for all P/E mail? Yes Xx No NIA
18 OPS - Have trailer yard checks being completed in each tour including trailers at the dock? Yes x No NIA
19 OPS/BMEU - Do the OPS and BMEU teams meet to compare and validate the Political and Election mail logs? Yes No xX N/A
20 BMEU - Is the BMEU Political and Election mail logs up to date and current? Yes Si No NIA
21 IPS - Is reviewed daily to assess Political and Election Mail Performance? Yes Xx No NIA
22 IPS - Did IPS audit the MCV counts and validate the counts and oldest dates on the floor? Yes x) No NIA
23 IPS - Are mail conditions and All Clear certification being reviewed and discussed at the daily tour turnover meetings 7 Yes \ No NIA
24 IPS - Is IPS reviewing Election Mail ballot envelopes that reject from AFCSs and communicating findings to the distric| Yes No N/A 4

 

 

 

 

 

 

 

 
Case 1:20-cv-02405-EGS Document 90-5 Filed 11/05/20 Page 10 of 16

 

 

PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order unreostirss

POSTAL SERVICE @

 

Political and/or Election Mail. District; Mid-Carolina

E. Caine

FAY Ae
Operational Clean Sweep Search Checkilist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District
Political and Election Mail Operations Coordinator information for investigating possible missing or delayed

 

SAT fof ]20 FD

Title: 204B / Lead Clerk

 

Phone #:910-486-2347

 

 

Check box
when checked

Section/Operation:

Defines the work area to be searched.

Comments:

Specifics: include copies of PMOD label and for
container placard. Names of individuals contacted

 

Incoming dock

ALL ARES CHECKED

 

BMEU & BMEU Plant Staging

 

Opening units

 

AO / Station dispatch area

 

Outbound dock

 

Outgoing Dispatch Area

 

Trailers in yard (Yard Check)

 

MTE Plant Staging Area

 

MITE trailers

 

Site MTESC

 

PARS Staging and Operations

 

Rewrap Operations

 

CFS (if applicable)

 

FIZIIGgadagaag

 

 

BRM/Postage Due

 

 

 

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Case 1:20-cv-02405-EGS Document 90-5 Filed 11/05/20 Page 11 of 16

 

PROCESSING OPERATIONS
HEADQUARTERS
UNITED STATES POSTAL SERVICE

Processing Operations Management Order

| =

UNITED STATES

 

 

 

 

POSTAL SERVICE @
Political and Election Mail Audit Checklist
Ze , sELECTION'MATT
a ak ‘teeter ta 8 Po Se» Facility NAME/AuditorsNamE:| Plant-12/Velez
10/30/2020

 

 

Enter responses in Spaces provided. Any Y/N question answered as “No” requires an entry in section 44 below.

General information / Communication: (TO BE COMPLETED SEVERAL TIMES DURING THE PROCESSING WINDOW

 

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22

MGMT - Has the site certified that ALL Service Talks and POMOs were shared with ALL employees?

 

OPS ~ Was the daily all clear check completed and certified after each tour and end of day on the website?

 

OPS - ls there a designated Political and Election Mail Staging area?

 

OPS - Is the staging space clearly identified with proper lines and signs?

 

OPS - Does the plant have Political and Election mail properly staged in the designated Staging area as applicable?

 

OPS - Was the Political and Election mail correctly reported on the appropriate MCRS Option line?

 

OPS - Is ALL Election mail being cancelled on the AFCSs, AFSMs or hand cancellation?

 

OPS - Has operations correctly documented their Political and Election Mail arrivals into the P/E log?

 

OPS - Are all P/E mail alerts being shared and documented in the log upon arrival?

 

OPS - Are all containers with P/E mail properly identified indicating that there is P/E mail in that container?

 

OPS - Have the POMOs and Service talks been posted on the workroom floor?

 

OPS - Are the employees knowledgeable about the POMOs and Service Talks for Political and Election Mail?

 

OPS - Are the BRM Political and Election Mail procedures being followed?

 

 

OPS - Are the POSTAGE DUE Election Mail procedures being followed - DELIVER THE MAIL/IDO NOT RTS?

 

OPS - Do the employees know what to do with a container with a Tag 57 or 191?

 

OPS - Does the site know how to handle the Military/Overseas/Absentee ballots?

 

‘OPS - Have manual Operations including Shortpaid, Damaged mail and PARS been swept for all P/E mail?

 

OPS - Have trailer yard checks being completed in each tour including trailers at the dock?

 

OPS/BMEU - Do the OPS and BMEU teams mest to compare and validate the Political and Election mail logs?

 

BMEU - Is the BMEU Political and Election mail logs up to date and current?

 

IPS - Is lV reviewed daily to assess Political and Election Mail Performance?

 

IPS - Did IPS audit the MCV counts and validate the counts and oldest dates on the floor?

 

IPS - Are mail conditions and All Clear certification being reviewed and discussed at the daily tour turnover meetings? Yes

 

Yes! x | No NIA
Yes x | No NiA
Yes x | No NIA
Yes vv No NIA
Yes y | No N/A
Yes y | No NIA
Yes x | No NiA
Yes x No NIA
Yes x No NIA
Yes y | No N/A
Yes x | No NIA
Yes oy No NIA
Yes x No NIA
Yes! y | No NIA
Yes x | No NIA
Yes! y | No NIA
Yes} x | No NIA
Yes y | No NIA
Yes| | No NIA|’
Yes Ni No NIA
Yes) |No| [wa
Yes x No NIA

Ne No NIA
Yes No NIA

 

IPS - Is IPS reviewing Election Mail ballot envelopes that reject from AFCSs and communicating findings to the distric

 

 

 

 

 

 

 

 
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FRI 10-30-20

Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
minimal areas to check and is not limited to these areas within facility. Checklist must be retained by the District

Political and Election Mail Operations Coordinator i
Political and/or Election Mail. District:

R. Ivette Velez

 

formation for investigating possible missing or delayed

Mid-Carolina Name:

 

 

Title: MDO Phone #:___910 486-2347
ts:
Check box | Section/Operation: Senne
when checked Specifics: include copies of PMOD label and /or

Defines the work area to be searched.

container placard. Names of individuals contacted

 

 

Incoming dock

All Areas checked

 

BMEU & BMEU Plant Staging

 

Opening units

 

AO / Station dispatch area

 

Outbound dock

 

Outgoing Dispatch Area

 

Trailers in yard (Yard Check)

 

MTE Plant Staging Area

 

MTE trailers

 

Site MTESC

 

PARS Staging and Operations

 

Rewrap Operations

 

CFS (if applicable)

 

Ele Ee Fe Ree ee oe ee

 

 

BRM/Postage Due

 

 

 

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Political and Election Mail Audit Checklist
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se rues 2 eS plant-T2/Velez
___ 10/29/2020
Enter responses in spaces provided. Any Y/N question answered as "No" requires an entry in section 41 below.

1 MGMT - Has the site certified that ALL Service Talks and POMOs were shared with ALL employees? Yes| x | No N/A

2 OPS - Was the daily all clear check completed and certified after each tour and end of day on the website? Yes} y | No NIA

3 OPS - Is there a designated Political and Election Mail Staging area? Yes y | No NIA

4 OPS - Is the staging space clearly identified with proper lines and signs? Yes y | No NIA

5 OPS - Does the plant have Political and Election mail properly staged in the designated staging area as applicable? | Yes Xx No NIA

6 OPS - Was the Political and Election mail correctly reported on the appropriate MCRS Option line? Yes x No N/A

7 OPS - Is ALL Election mail being cancelled on the AFCSs, AFSMs or hand cancellation? Yes x No NIA

8 OPS - Has operations correctly documented their Political and Election Mail arrivals into the P/E log? Yes x No N/A

9 OPS - Are all P/E mail alerts being shared and documented in the log upon arrival? Yes x No N/A
10 OPS - Are all containers with P/E mail properly identified indicating that there is P/E mail in that container? Yes y | Ne NIA
11 OPS - Have the POMOs and Service talks been posted on the workroom floor? Yes x No NIA
12 OPS - Are the employees knowledgeable about the POMOs and Service Talks for Political and Election Mail? Yes y No NIA
13 OPS - Are the BRM Political and Election Mail procedures being followed? Yes x No NIA
14 OPS - Are the POSTAGE DUE Election Mail procedures being followed - DELIVER THE MAIL/DO NOT RTS? Yes} y | No NIA
18 OPS - Do the employees know what to do with a container with a Tag 57 or 191? _ |¥es| y | No NIA
16 OPS - Does the site know how to handle the Military/Overseas/Absentee ballots? , Yes! y | No NIA
17 OPS - Have manual operations including Shortpaid, Damaged mail and PARS been swept for all P/E mail? Yes} yx | No N/A
18 OPS - Have trailer yard checks being completed in each tour including trailers at the dock? Yes x No NIA
19 OPS/BMEU - Do the OPS and BMEU teams meet to compare and validate the Political and Election mail logs? Yes No XY N/A
20 BMEU-|s the BMEU Poitical and Election mail logs up to date and current? Yes] |No| |N/A
21 IPS - Is IV reviewed daily to assess Political and Election Mail Performance? Yes x No N/A
22 IPS - Did IPS audit the MCV counts and validate the counts and oldest dates on the floor? Yes x No NIA
23 IPS - Are mail conditions and All Clear certification being reviewed and discussed at the daily tour turnover meetings?) Yes K No NIA
24 IPS - Is IPS reviewing Election Mail ballot envelopes that reject from AFCSs and communicating findings to the distric] Yes No NIA x

 

 

 

 

 

 

 

 

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Operational Clean Sweep Search Checklist- Political and Election Mail

Purpose: To provide an operational checklist to be used in performing a daily mail search. This list includes the
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Political and Election Mail Operations Coordinator i

formation for investigating possible missing or delayed

 

 

 

 

 

 

Political and/or Election Mail. District: Mid-Carolina Name:
R. Ivette Velez
Title: MDO Phone #: 910 486-2347
, Be Comments:
Check box | Section/Operation:

when checked

Defines the work area to be searched.

Specifics: include copies of PMOD label and /or
container placard. Names of individuals contacted

 

Incoming dock

All Areas checked

 

 

BMEU & BMEU Plant Staging

 

 

 

 

 

 

 

 

 

 

 

 

 

 

bd

Opening units

[yl AO / Station dispatch area

[x] Outbound dock

x] Outgoing Dispatch Area

Lx] Trailers in yard (Yard Check} No Trailers
MTE Plant Staging Area

[x] MTE trailers

[x] Site MTESC

[x] PARS Staging and Operations

kx] Rewrap Operations All Clear
CFS (if applicable)

[x] BRM/Postage Due

 

 

 

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of 16

 

 

 

 

   

 

 

 

 

 

 

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eal. really cae ~ 3 plant-T2/Velez
10/28/2020
Enter responses in spaces Provided. Any Y/N question answered as “No" requires an entry in section 41 below.
General Information / Communication: (TO BE GOMPLETED SEVERAL TIMES DURING THE PROCESSING WINDOW)

1 MGMT - Has the site certified that ALL Service Talks and POMOs were shared with ALL employees? Yes| y | No NIA

2 OPS - Was the daily all clear check completed and certified after each tour and end of day on the website? Yes x | No NIA

3 OPS - Is there a designated Political and Election Mail Staging area? Yes} , | No NIA

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13 OPS - Are the BRM Political and Election Mail procedures being followed? Yes x No N/A

14 OPS - Are the POSTAGE DUE Election Mail procedures being followed - DELIVER THE MAIL/DO NOT RTS? Yes x | No N/A

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21 IPS - Is IV reviewed daily to assess Political and Election Mail Performance? Yes y No NIA

22 IPS - Did IPS audit the MCV counts and validate the counts and oldest dates on the floor? Yes x No N/A

23 IPS - Are mail conditions and All Clear certification being reviewed and discussed at the daily tour tumover meetings?) Yes k No NIA

24 IPS - Is IPS reviewing Election Mail ballot envelopes that reject from AFCSs and communicating findings to the distric| Yes No N/A

 

 

 

 
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Political and/or Election Mail. District: Mid-Carolina Name:

R. Ivette Velez

Title: MDO Phone #:___ 910 486-2347

 

Comments:
Check box | Section/Operation: ~

Specifics: include copies of PMOD label and /or
container placard. Names of individuals contacted

when checked Defines the work area to be searched.

 

Incoming dock
ncoming All Areas checked

 

BMEU & BMEU Plant Staging

 

Opening units

 

AO / Station dispatch area

 

Outbound dock

 

Outgoing Dispatch Area

 

Trailers in yard (Yard Check}

 

MTE Plant Staging Area

MTE trailers
Ate Oleg An

Site MTESC

 

 

 

PARS Staging and Operations

 

Rewrap Operations

 

CFS (if applicable)

 

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BRM/Postage Due

 

 

 

 

 

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